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PETITION FOR WRIT OF HABEAS CORPUS: 28 USC §2254 (Rev. 9/10)
ADOPTED BY ALL FEDERAL COURTS IN TEXAS


                        IN THE UNITED STATES DISTRICT COURT FILED
                                                            U.S. DISTRICT COURT
                                         __ EASTERN DISTRICT OF TEXAS
                  FOR THE fhSl KJ DISTRICT OF TEXAS
                                                                                                OCT 9 2018
                                  fee- ii incur division
                                                                                       BY
                            PETITION FOR A WRIT OF HABEAS CORPUS BY                    DEPUTY
                                   A PERSON IN STATE CUSTODY


        jas G?(i 1 a                    (                              \ ) ks/ib (flscm
PETITIONER                                                     CURRENT PLACE OF CONFINEMENT
(Full name of Petitioner)


vs.
                                                                             PRISONER ID NUMBER


 i.O&L UaVt'S f TDej crnlDir.
RESPONDENT                                                                            CASE NUMBER
(Name of TDCJ Director, Warden, Jailor, or                          (Supplied by the District Court Clerk)
authorized person having custody of Petitioner)



                                INSTRUCTIONS - READ CAREFULLY

1. The petition must be legibly handwritten or typewritten and signed and dated by the petitioner,
       under penalty of perjury. Any false statement of an important fact may lead to prosecution for
       perjury. Answer all questions in the proper space on the form.

2. Additional pages are not allowed e cept in answer to questions 11 and 20. Do not cite legal
       authorities. Any additional arguments or facts you want to present must be in a se arate
       memorandum. The petition, including attachments, may not exceed 20 pages.

3. Receipt of the $5.00 filing fee or a grant of permission to proceed in forma pauperis must occur
      before the court will consider your petition.

4. If you do not have the necessary filing fee, you may ask permission to proceed in forma pauperis.
          To proceed in forma pauperis, (1) you must sign the declaration provided with this petition to
         show that you cannot prepay the fees and costs, and (2) if you are confined in TDCJ-CID, you
        must send in a certified In Forma Pauperis Data Sheet form from the institution in which you are
         confined. If you are in an institution other than TDCJ-CID, you must send in a certificate
         completed by an authorized officer at your institution certifying the amount of money you have
         on deposit at that institution. If you have access or have had access to enough funds to pay the
         filing fee, then you must pay the filing fee.

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5. Only judgments entered y one court may be challenged in a single petition. A separate petition
       must be filed to challenge a judgment entered by a different state court.

6. Include all of your grounds for relief and all of the facts that support each ground for relief in this
        petition.

7. Mail the completed petition and one copy to the U. S. District Clerk. The Venue List in your
       unit law library lists all of the federal courts in Texas, their divisions, and the addresses for the
       clerk s offices. The proper court will be the federal court in the division and district in which you
       were convicted (for example, a Dallas County conviction is in the Northe District of Texas,
       Dallas Division) or where you are now in custody (for example, the Huntsville units are in the
        Southern District of Texas, Houston Division).

8. Failure to notify the court of your change of address could result in the dismissal of your case.



                                               PETITION

What are you challenging? (Check all that apply)

               A judgment of conviction or sentence, (Answer Questions 1-4, 5-12 & 20-25)
               probation or deferred-adjudication probation.
               A parole revocation proceeding. (Answer Questions 1-4, 13-14 & 20-25)
               A disciplinary proceeding. (Answer Questions 1-4, 15-19 & 20-25)
               Other:         (Answer Questions 1-4, 10-11 & 20-25)

All petitioners must answer questions 1-4:
Note: In answering questions 1-4, you must give information about the conviction for the sentence you
are presently serving, even if you are challenging a prison disciplinary action. (Note: If you are
challenging a prison disciplinary action, do not answer questions 1-4 with information about the
disciplinary case. Answer these questions about the conviction for the sentence you are presently serving.)
Failure to follow this instruction may result in a delay in processing your case.

        Name and location of the court (district and county) that entered the judgment of conviction and
        sentence that you are presently serving or that is under attack: / | ,C 0( - . ( h

        of i- ofT ( A cRi , .vt ANC in sTV QtcJnmoAA . T .



©       Date of judgment of conviction:        rYWcK Liqgk
©       Length of sentence: ?7vr,s

€       Identify the docket numbers (if known) and all crimes of which vou were convicted that you wish
        to challenge in this habeas action: / /Oi/?,"r|                                                  f




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Judgment of Conviction or Sentence, Probation or Deferred-Adiudication Probation:


3     What was your plea? (Check one) JElNot Guilty G Guilty G Nolo Contendere

      Kind of trial: (Check one) I jury Q Judge Only

      Did you testify at trial? |Xf Yes Q No

      Did you appeal the judgment of conviction? "p Yes G No


0     If you did appeal, in what appellate court did you file your direct appeal? Th&- l

     Jof X%,i llob'X Cause Number (if known): Q

      What was the result of your direct appeal (affirmed, modified or reversed)? A fjl

      What was the date of that decision??    c f I we
      If you filed a petition for discretionary review after the decision of the court of appeals, answer
      the following:

      Grounds raised:




      Result:

      Date of result:                     Cause Number (if loiown):

      If you filed a petition for a writ of certiorari with the United States Supreme Court, a swer the
      following:

      Result:

      Date of result:

       Other than a direct appeal, have you filed any petitions, applications or motions from this
      judgment in any court, state or federal? This includes any state applications for a writ of habeas
       corpus that you may have filed. Y es GNo

ff If your answer to 10 is Yes, give the following information

 l€ Name of court:

      Nature of proceeding:   l4 >tCt,S brPu& aTf. ilG                            oidJtf jAAii
       Cause number (if loiown): I7,oW-A



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          Case 4:18-cv-04135 Document 1 Filed on 10/09/18 in TXSD Page 4 of 14
        Date (month, day and year) you filed the petition, application or motion as shown by a file-
        stamped date from the particular court: r T hc jM* fh& fetofded dai »

        Grounds raised:                            A C i            f l&l < L (jn ( )k£iT)]
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        Date of final decision:   cion T e Piimocl&A- defileS
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        What was the decision??b    n tl      /n uif IeMOfAe itL PfC' '
        Name of court that issued the final decision:                      1 f C j) ,

    •& ,As to any second petition, application or motion, give the same information:

        Name of court: IRjN H&f T A                                         Cfy,,
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     A, Nature of proceeding: 'KQi; G/1.S UMT                               O 7 B cci hai Ppptds

        Cause number (if known): I /                                                OH I/ »

        Date (month, day and year) you filed the petition, application or motion as shown by a file-
        stamped date from the particular court:
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        What was the decision? i)ismiseA
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        Name of court that issued the final decision: ' [, ( ( CJ~ yvi I TiCi ( pp&<Z is

        If you have filed more than two petitio s, applications or motion , please attach an. additional
        sheet of paper and give the same information about each petition, application or motion,

f 12 ) Do you have any future sentence to serve after you finish serving the sentence you are attacking
                               in this petition?          Yes          No

        (a) If your answer is Yes, give the name and location of the court that imposed the sentence
                 to be served in the future:




        (b) Give the date and length of the sentence to be served in the future:




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      (c) Have you filed, or do you intend to file, any petition attacking the judgment for the
             sentence you must serve in the future? Yes No

Parole Revocation:

13. Date and location of your parole revocation:

14. Have you filed any petitions, applications or motions in any state or federal court challenging
      your parole revocation? Yes No

       If your answer is Yes, complete Question 11 above regarding your parole revocation.

Disciplinary Proceedings:

15. For your original conviction, was there a finding that you used or exhibited a deadly weapon?
          Yes        No

16. Are you eligible for release on mandatory su ervision? D Yes                 No

17. Name and location of the TDCJ Unit where you were found guilty of the disciplinary violation:



       Disciplinary                                case                number:

       What was the nature of the disciplinary charge against you?

18. Date you were found guilty of the disciplinary violation:

       Did you lose previously earned good-time days? DYes D No

       If your answer is Y es, provide the exact number of previously earned goo -time days that were
       forfeited by the disciplinary hearing officer as a result of your disciplinaiy hearing:



       Identify all other punishment imposed, including the length of any punish ent, if ap licable, and
       any changes in custody status:




19. Did you appeal the finding of guilty through the prison or TDCJ grievance procedure?
          Yes        No

       If your answer to Question 19 is Yes, answer the following:

       Step                             1         Result:



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               Date                            of             Result:

       Step                                2            Result:

               Date                            of             Result:

All petitioners must answer the remaining questions:

20. For this petition, state every ground on which you claim thatyou are being held in violation ofthe
       Constitution, laws, or treaties of the United States. Summarize briefly the facts supporting each
       ground. If necessary, you may attach pages stating additional grounds and facts supporting them.

       CAUTION: To proceed in the federal court, you must ordinarily first exhaust your available state-
       court remedies on each ground on which you request action by the federal court. Also, if you fail
       to set forth all the grounds in this petition, you may be barred from presenting additional grounds
       at a later date.

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       Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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B.           GROUND                                             TWO:




        Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim,):




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 GROUNDTHREE:



 Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




 GROUND FOUR:



 Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




 Relief sought in this petition: j s) I             Ag J lal oj t
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Have you previously filed a federal habeas petition attacking the same conviction, parole
                                                                                  __
revocation or disciplinary proceeding that you are attacking in this petition? UYes JX|IMo
If your answer is Yes, give the date on which each petition was filed and the federal court in
which it was filed. Also state whether the petition was (a) dismissed without prejudice, (b)
dismissed with prejudice, or (c) denied.




If you previously filed a federal petition attacking the same conviction and such petition was
denied or dismissed with prejudice, did you receive permission from the Fifth Circuit to file a
second petition, as required by 28 U.S.C. § 2244(b)(3) and (4)? Yes No

Are any of the grounds listed in question 20 above presented for the first time in this petition?
      Yes IS No

If your answer is Yes,” state briefly what grounds are presented for the fi st time and give your
reasons for not presenting them to any other court, either state or federal.




Do you have any petition or appeal now pending (filed and not yet decide ) in any court, either
state or federal, for the judgment you are challenging? Yes No

If “Yes,” identify each type of proceeding that is pending (i.e., direct appeal, art. 11.07
application, or federal habeas petition), the court in which each proceeding is pending, and the
date each proceeding was filed.




Give the name and address, if you know, of each attorney who represented you in the following
stages of the judgment you are challenging:

(a)     At preliminary hearing: _   SiClfGiA AQCkcX Aose/l
(b)     At arraignment and plea:

(c)     At trial: feosen C

(d)     At sentencing:   Qlu)'en Aoei eT {\OS>(>mA£sc )
(e)     On appeal: <S)6f)64/\                                           0
(f)     In any post-conviction proceeding:



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        (g) On appeal from any ruling against you in a post-conviction proceeding:




Timeliness of Petition:

        If your judgment of conviction, parole revocation or disciplinary proceeding became final over
        one year ago, you must explain why the one-year statute of limitations contained in 28 U.S.C. §
        2244(d) does not bar yom petition.* 1 2 U, Av/Cl j i 3.3 S. WH
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           1 The Antiterrorism and Effective Death Penalty Act of 1996 ( AEDPA ), as contained in .28 U.S.C. § 2244(d),

 provides in part that:

          (1) A one-year period of limitation shall apply to an application for a writ ofhabeas corpus by a person in
                   custody pursuant to the judgment of a State court. The limitation pieriod s all run from the latest of-

                    (A) the date on which the judgment became final by the conclusion of direct review or the
                             expiration of the time for seeking such review;

                    (B) the date on which the impediment to filing an application created by State action in violation
                             of the Constitution or laws ofthe United States is removed, if the applicant was prevented from
                             filing by such State action;

                    (C) the date on which the constitutional right asserted was initially recognized by the Supreme
                             Court, if the ight has been newly recognized by the Supreme Court and made retroactively
                             applicable to cases on collateral review; or

                    (D) the date on which the factual predicate of the claim or claims presented could have been
                             discovered through the exercise of due diligence.

          (2) The time during which a properly filed application for State post-conviction or other collateral review
                   with respect to the pertinent judgment or claim is pending shall not be counted toward any period of
                    limitation under this subsection.




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        Wherefore, petitioner prays that the Court grant him the relief to which he may be entitled.



                                                                       //
                                                         Signature of Attorney (if any)




       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Petition for a Writ of Habeas Corpus was placed in the prison mailing system on

     /O- 3.-1%                                           (month, day, year).



        Executed (signed) on j                      l                     (date).




                                                                   of Petitioner (required )



Petitioner s current address: CbciQh,SI 3; 2o X

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